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   Fill in this information to identify the case:
                                                        Document     Page 1 of 7
Fill in this information to identify the case:
Debtor 1       Stephanie T Fryer
Debtor 2                                                                                    (Spouse, if filing)
Debtor 3

United States Bankruptcy Court for the: EASTERN     District of PA
                                                                             (State)

Case number      2111319




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to 11.
U.S.C. § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: PNC BANK, N A                                                          Court claim no. (if known): 5



 Last 4 digits of any number you use to
identify the debtor’s account:          3                    1           4      0                 Date of payment change:
                                                                                                  Must be at least 21 days after date
                                                                                                                                            06__/01__/2025_
                                                                                                  of this notice.

                                                                                                  New total payment:
                                                                                                  Principal, interest, and escrow, if any   $ 1,650.68___

 Part 1:      Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
            No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why:


                 Current escrow payment: $685.31                     New escrow payment:                              $ 886.22


 Part 2:      Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's
      variable-rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
               attached, explain why: _____________________________________________________________


                 Current interest rate:                              %                  New interest rate:                                  %

                 Current principal and interest payment: $                             New principal and interest payment: $


 Part 3:      Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

                 Reason for change: __________________________________________________________________________________

                 Current mortgage payment: $                                            New mortgage payment: $
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Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.




     X /s/ Lucy Miller                                                                 Date       05 / 01 / 2025
   Signature




Print:           Lucy_______________ ____________ Miller____________ Title               Bankruptcy Specialist
                 First Name                 Middle Name        Last Name




Company           PNC Bank, N.A.


Address           3232 Newmark Drive
                 Number            Street


                    Miamisburg                                OH           45342
                 City                                          State        ZIP Code



Contact phone    ( 866 ) 754 – 0659                   Email Bankruptcy.administration.internal@pnc.com
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      P.O. Box 1820                                                                 Your escrow analysis
      Dayton, OH 45401-1820
                                                                                    is here!
                                                                                    Account Number
                                                                                    Statement Date          04/04/2025
       STEPHANIE T FRYER
       116 LINCOLN AVE                                                              Review Period           06/2025
       YEADON PA 19050-2933
                                                                                                              to 05/2026
                                                                                                Property Address
                                                                                                116 LINCOLN AVE
                                                                                                YEADON, PA 19050

                                                                                              New Payment Amount
                                                                                                   $1,650.68
                                                                                           New Payment Effective Date
                                                                                                  06/01/2025


Thank you for            Why are you receiving this escrow analysis statement?
                         At least once each year, federal guidelines require that we review your escrow account to ensure
 being a PNC             sufficient funds are collected to pay your property taxes and insurance premiums. These reviews are
  customer               necessary since these escrowed expenses can change. Please take a moment to review What's
                         Changed. Learn more online at pnc.com/MortgageCustomerCare.


                                                   What's Changed?
   • Due to your escrowed expenses (like property taxes and/or insurance premiums) increasing, your monthly / periodic
     escrow payment will increase to $718.20.

   • Additionally, your escrow account is projected to have a shortage of $2,016.22.
            Spreading the shortage over 12 months, interest free, adds $168.02 to your monthly / periodic payment.



      Annual Escrow Expense Breakdown                                     Mortgage Payment Breakdown
                        What was                                                                               New payment
      Annual                                       What we           Monthly / Periodic         Current
                        estimated       Change                                                                   effective
     Expenses                                     plan to pay           Payments                payment
                        to be paid                                                                              06/01/2025
Insurance                 $2,088.00       é         $3,413.00      Principal & Interest          $764.46               $764.46
Property Tax              $5,018.15       é         $5,205.33      Escrow Payment                $592.18               $718.20
Annual Escrow                                                      Shortage Payment                $93.13              $168.02
                          $7,106.15       é        $8,618.33
Expenses
                                                                   Monthly / Periodic
Monthly / Periodic                                                                             $1,449.77             $1,650.68
                            $592.18       é          $718.20       Total Payment
Escrow Amount




                                                 What You Need To Do
    Option 1: Take no action* and your payment will be adjusted to spread the shortage over the next 12 months interest
    free. Your new monthly / periodic payment will be $1,650.68 beginning 06/01/2025.

    Option 2: If you wish to discuss options other than paying the shortage over 12 months, please contact us one of the
    ways listed at the bottom of this page.
    *If PNC automatically deducts your monthly payment from your checking or savings account, then your payment
    amount will be updated automatically - there's nothing you need to do. However, if you use another financial
    institution's payment service to pay your mortgage, then please update that service to reflect your new mortgage
    payment as of the new payment effective date.



                                              How to Pay or Contact PNC

        Visit PNC Online Banking to Make                                      Contact a PNC Bank Employee
        Payments and More                                                     We are here, if you have questions or need
                                                                              assistance, please contact our Customer Care
 To make payments or manage your
                                                                              Center at 1-800-822-5626.
 mortgage account online, visit us at
 pnc.com/MortgageCustomerCare.                                                You can also visit your local PNC branch.


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                                            Frequently Asked Questions
Why did my payment change?
   Changes to your escrowed expenses (such as property taxes and insurance premiums) will result in changes to your monthly
   / periodic escrow payment. Your local taxing authority will typically review your property value and as a result may adjust
   your property taxes. Similarly, your insurance provider will review the risk and coverage amounts of your property and as a
   result may adjust your insurance premium.

Can PNC provide me with information concerning why there were changes to my tax payments or insurance premiums?
   PNC does not have information as to specifically why your taxes or insurance premiums may have changed. We encourage
   you to contact your local tax office or your insurance company for details or further information.

How is my Escrow Amount calculated?
   We add up the projected expenses to be paid over the next 12 months and divide that total by your required number of
   mortgage payments per year (normally 12) to determine your new escrow amount. These projected expenses are based on
   the most recent information we've received from your property tax authorities, insurance carrier(s), and for any other
   escrowed expenses.

If there is a shortage in my escrow account, what should I do?
   Option 1: Take no action and your payment will be adjusted to spread the shortage as shown on page 1.
   Option 2: If you wish to discuss other options, please call us at 1-800-822-5626.

What should I do if I receive a tax bill?
   PNC should also receive a bill. The one you receive should be informational for your records and no further action will be
   needed as your lender will make the payments from your escrow account. If you have an escrow account for taxes and the
   tax bill is for delinquent taxes due, please call us at 1-800-822-5626.

   If it is necessary to send a copy of your tax bill to us, please include your mortgage account number and forward it to:
         PNC Bank
         Attn: Tax Department
         P.O. Box 1804
         Dayton, OH 45401-1804
   Important for customers in these states: PA, CA, VA, MD, NJ, ID, IA, ME, CT: Supplemental or special / additional assessment
   tax is not escrowed. You will be responsible for paying these bills.

What should I do if I receive an insurance renewal notice and a bill requesting payment?
   If you have an escrow account for insurance, please forward a copy of your bill with your mortgage account number to:
         PNC Bank
         ISAOA ATIMA
         P.O. Box 7433
         Springfield, OH 45501
         888-229-5429

What should I do if I change insurance companies?
   Any time you change your insurance carrier, please provide them with your mortgage account number and the following
   contact information for PNC:
         PNC Bank, NA
         ISAOA ATIMA
         P.O. Box 7433
         Springfield, OH 45501
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                                    Prior Escrow Account Projection and Activity
This is a list of your escrow account’s prior projection and actual activity since your last escrow analysis. Differences between
the most recent account history and last year's projection may have resulted in not reaching the estimated low monthly balance.
          * Indicates a difference from projected activity either in the amount or the date.
          "p" Indicates projected future payments into or out of the escrow account.

                                         Amount paid out of                 Amount paid into
 Date                                   your Escrow Account               your Escrow Account                 Balance
               Description
 M/YY
                                       Estimated         Actual          Estimated          Actual    Estimated         Actual
          Beginning Balance                                                                             $2,368.71    -$4,550.21
 4/24                                                                                       $535.49                  -$5,706.17
 5/24                                                                                    $1,155.96                   -$4,550.21
 6/24                                                                      $592.18                      $2,960.89    -$4,550.21
 7/24                                                                      $592.18       $1,155.96      $3,553.07    -$3,394.25
 8/24     SCHOOL TAX                   $2,769.62       $2,760.60 *         $592.18          $577.98     $1,375.63    -$5,576.87
 9/24                                                                      $592.18       $1,155.96      $1,967.81    -$4,420.91
10/24                                                                      $592.18                      $2,559.99    -$4,420.91
11/24                                                                      $592.18          $577.98     $3,152.17    -$3,842.93
12/24                                                                      $592.18          $577.98     $3,744.35    -$3,264.95
 1/25     HAZARD INS                                   $3,413.00 *         $592.18                      $4,336.53    -$6,677.95
 2/25     HAZARD INS                   $2,088.00                   *       $592.18          $577.98     $2,840.71    -$6,099.97
 2/25     COUNTY TAX                                    $419.86 *                                       $2,840.71    -$6,519.83
 3/25     COUNTY TAX                    $341.37                    *       $592.18          $577.98     $3,091.52    -$5,941.85
 3/25     CITY TAX                     $1,907.16       $2,024.87 *                                      $1,184.36    -$7,966.72
 4/25                                                                      $592.18       $8,116.39      $1,776.54       $149.67
 5/25                                                                      $592.18          $685.31     $2,368.72       $834.98
                  TOTAL                $7,106.15       $8,618.33         $7,106.16      $15,694.97



                                             Next 12 Month Activity Projection
This is a projection of your escrow account’s anticipated activity for the coming 12 months.
  • Your new monthly / periodic escrow payment is the total of payments expected to be made out of your escrow account
    divided by the number of mortgage payments per year (normally 12).

  • Since the projected minimum balance (indicated by **) is less than twice your new monthly escrow payment (excluding
    MIP/PMI), as allowed by RESPA unless your mortgage document or state law specifies a lower amount, the difference
        results in a shortage. For example: Shortage = 2 ´ [monthly escrow payment excluding MIP/PMI] – [minimum balance**]
                                           Amount paid out of              Amount paid into
  Date                                    your Escrow Account            your Escrow Account                 Balance
                  Description
  M/YY
                                                Estimated                      Estimated                    Estimated
            Beginning Balance                                                                                 $834.98
  6/25                                                                            $718.20                   $1,553.18
  7/25                                                                            $718.20                   $2,271.38
  8/25      SCHOOL TAX                          $2,760.60                         $718.20                     $228.98
  9/25                                                                            $718.20                     $947.18
  10/25                                                                           $718.20                   $1,665.38
  11/25                                                                           $718.20                   $2,383.58
  12/25                                                                           $718.20                   $3,101.78
  1/26                                                                            $718.20                   $3,819.98
  2/26      HAZARD INS                          $3,413.00                         $718.20                   $1,125.18
  3/26      COUNTY TAX                             $419.86                        $718.20                   $1,423.52
  3/26      CITY TAX                            $2,024.87                                                    -$601.35**
  4/26                                                                            $718.20                     $116.85
  5/26                                                                            $718.20                     $835.05
                     TOTAL                      $8,618.33                       $8,618.40




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                                   Important Messages / Disclosures

Our records show that you are a debtor in bankruptcy or you have received a discharge. We are sending this letter to you for
informational and compliance purposes only. It is not an attempt to collect a debt against you.




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                                 UNITEDSTATESBANKRUPTCYCOURT
                               Eastern District of Pennsylvania (Philadelphia)


 INRE: Stephanie T. Fryer                            CaseNo. 21-11319
                                                       JudgeDerek J Baker
                                                       Chapter13



                                        CERTIFICATEOFSERVICEOF
                                    NoticeofMortgagePaymentChange

  I,theundersigned,herebycertifythat,on 05/01/2025
                                                         ,atrueandcorrectcopyoftheNotice
ofMortgagePaymentChangewaselectronicallyserveduponthefollowingusingtheCourt’s
CM/ECFsystem:

Debtor’sAttorney:MICHAEL A. CIBIK
Trustee:KENNETH E. WEST
OfficeoftheUnitedStatesTrustee

  Further,Icertifythat,on 05/01/2025
                                         ,atrueandcorrectcopyoftheNoticeofMortgage
PaymentChangewasforwardedviaU.S.Mail,firstclasspostageprepaidandproperly
addressed,tothefollowingattheaddressshownbelow:

                                        116 Lincoln Avenue
Stephanie T. Fryer
                                        Yeadon, PA 19050




                                                                   By:/s/ Lucy Miller
                                                                    Lucy Miller
                                                                   PNCBank,N.A.
                                                                   3232NewmarkDrive
                                                                   Miamisburg,OH45342
                                                                   866Ͳ754Ͳ0659
